                         Case
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                                                                                            (NOTE:1 Identify
                                                                                                     of 9 Changes with Asterisks (*))
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                       Eastern District of Pennsylvania
                                                                           )
                UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                           )
                                  v.                                       )
     MICHAEL JOSEPH MYERS aka "OZZIE" MYERS                                )   Case Number: DPAE2:20CR000210.001
                                                                           )   USM Number: 13510-053**
Date of Original Judgment:             9/27/2022                           )       Noah Garson / Arnold R. Silverstein
                                       (Or Date ofLast Amended Judgment)   )   Defendant's Attorney

THE DEFENDANT:
[ti' pleaded guilty to count(s) 1, 2, 8, 10 and 12 of the Superseding Indictment on 6/6/2022.
O pleaded nolo contendere to count(s)
    which was accepted by the court.
O was found guilty on count(s)
    after a plea ofnot guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                                         Offense Ended                Count
18 USC §241                      Conspiracy to deprive persons of civil rights                              6/30/2016                   1
18 USC §§1952(a)(3)              Travel Act and aiding and abetting                                         5/19/2015                   2
and 2
       The defendant is sentenced as provided in pages 2 through               9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
l!f' Count(s)    3, 4, 5, 6, 7, ·9, 11 and 13            □ is (!f' are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.
                                                                                                          10/17/2022
                                                                               Date of Imposition of Judgment

                                                                                                      /s/ Paul S. Diamond
                                                                               Signature of Judge
                                                                                   Paul S. Diamond, U.S.D.C. Judge
                                                                               Name and Title of Judge

                                                                                                           10/17/2022
                                                                               Date
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                     Sheet IA                                                               (NOTE: Identify Changes with Asterisks(*))
                                                                                       Judgment -   Page     2        of       9
DEFENDANT: MICHAEL JOSEPH MYERS aka "OZZIE" MYERS
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                                       ADDITIONAL COUNTS OF CONVICTION
Title & Section               Nature of Offense                                     Offense Ended                Count
18 USC §§1512(b)(3)            Obstruction and aiding and abetting                 5/8/2017                      8

and 2

18 USC §§1519 and 2            Falsification of records and aiding and abetting    11/7/2017                     10

52 USC §10307(c)               Conspiracy to illegally vote in federal election    11/6/2018                     12
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                     Sheet 2 - Imprisonment                                                              (NOTE: Identify Changes with Asterisks (*))
                                                                                                    Judgment - Page               of
DEFENDANT: MICHAEL JOSEPH MYERS aka "OZZIE" MYER!
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                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :

30 Months on each of Counts 1, 2, 8, 10 and 12 of the Superseding Indictment to run concurrently with each other.




D       The court makes the following recommendations to the Bureau of Prisons:




l!I     The defendant is remanded to the custody of the United States Marshal.

D       The defendant shall surrender to the United States Marshal for this district:
        D     at                                  D    a.m.      D    p.m.     on
        D     as notified by the United States Marshal.

D       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        D     before 2 p.m. on

        D     as notified by the United States Marshal.

        D     as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                        to

at    - - - - - - - - - - - - - - - ~ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                          By
                                                                                            DEPUTY UNITED STATES MARSHAL
                             Case
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                          Sheet 3  Supervised Release                                                        (NOTE: Identify Changes with Asterisks(*))
                                                                                                                          4_ of
                                                                                                           Judgment-Page_ _                     9
 DEFENDANT: MICHAEL JOSEPH MYERS aka "OZZIE" MYERS
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                                                          SUPERVISED RELEASE
 Upon release from imprisonment, you will be on supervised release for a term of:
     3 Years on each of Counts 1, 2, 8, 10 and 12 to run concurrently with each other.




                                                      MANDATORY CONDITIONS
1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (check if applicable)
5.     D You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     [!j" You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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                     Sheet 3A - Supervised Release
                                                                                                        Judgment-Page                      9
DEFENDANT:           MICHAEL JOSEPH MYERS aka "OZZIE" MYERS
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                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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                     Sheet 3D- Supervised Release                                               (NOTE: Identify Changes with Asterisks (*))
                                                                                             Judgment-Page    _6_ of                9
DEFENDANT: MICHAEL JOSEPH MYERS aka "OZZIE" MYERS
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                                      SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall provide the U. S. Probation Office with full disclosure of his financial records to include yearly income
  tax returns upon request. The defendant shall cooperate with the Probation Officer in the investigation of his financial
  dealings and shall provide truthful monthly statements of his income.

 The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval
 of the probation officer, unless the defendant is in compliance with a payment schedule for any fine or restitution obligation
 or otherwise has the express approval of the Court. The defendant shall not encumber or liquidate interest in any assets
 unless it is in direct service of the Fine or Restitution obligation or otherwise has the express approval of the Court.

 Payment of the Restitution and the Fine is a condition of Supervised Release and the defendant shall satisfy the amount
 due in monthly installments of not less than $1,000.00.
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                     Sheet 5 - Criminal Monetary Penalties                                                    (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment - Page      7      of          9
DEFENDANT: MICHAEL JOSEPH MYERS aka "OZZIE" MYERS
CASE NUMBER: DPAE2:20CR000210.001
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment             Restitution                  Fine                 AVAA Assessment*              JVTA Assessment**
TOTALS           $ 500.00              $ 0.00                        $ 100,000.00        $ 0.00                          $ 0.00



D   The determination of restitution is deferred until - - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                             Total Loss***                        Restitution Ordered                       Priority or Percentage




TOTALS                                                                     $                       0.00


D    Restitution amount ordered pursuant to plea agreement $

~    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     D the interest requirement is waived for        D       fine     D restitution.
     D the interest requirement for the      D     fine        D restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No 115-299
** Ju~tic~ for Victims of Trafficking Act of2015, Pub. L. No. 114-22.               ·       ·
*** Fmdmgs for the total amount oflosses are required under Chapters 109A, 110, 110A and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.                              '
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                     Sheet 5A - Criminal Monetary Penalties                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                          Judgment-Page _8_ of                  9
DEFENDANT: MICHAEL JOSEPH MYERS aka "OZZIE" MYERS
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                      ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
   IF THE FINE IS NOT PAID IN FULL 15 DAYS FROM 9/27/2022, INTEREST WILL ACCRUE ON THE FINE. THE
   INTEREST WILL BEGIN TO ACCRUE ON OCTOBER 12, 2022. THE INTEREST WILL BE COMPUTED AT A RATE
   EQUAL TO THE WEEKLY AVERAGE ONE-YEAR CONSTANT MATURITY TREASURY YIELD, AS PUBLISHED BY THE
   BOARD OF GOVERNORS OF THE FEDERAL RESERVE SYSTEM, FOR THE CALENDAR WEEK PRECEDING THE
   FIRST DAY ON WHICH THE DEFENDANT IS LIABLE FOR INTEREST.
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                     Sheet 6 - Schedule of Payments                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                         Judgment - Page      9      of         9
DEFENDANT: MICHAEL JOSEPH MYERS aka "OZZIE" MYERS
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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     [tf' Lump sum payment of$         10,000.00           due immediately, balance due

           D not later than _ _ _ _ _ _ _ _ _ _ , or
           [tj' in accordance with D C, D D, D E, or                     !if' Fbelow;or
B     □    Payment to begin immediately (may be combined with           D C,       D D, or D F below); or
C     □   Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $    _ _ _ _ _ over a period of
          _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

D     □   Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ over a period of
          _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E     D Payment during the term of supervised release will commence within      _ _ _ _ (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ~ Special instructions regarding the payment of criminal monetary penalties:

            The defendant shall make payments in the amount of $25.00 per quarter from any wages he may earn in prison in
            accordance with The Bureau of Prisons' Inmate Financial Responsibility Program. Any portion of the fine and
            special assessment that is not paid in full at the time of release from imprisonment shall become a condition of
            Supervised Release and shall be paid at the rate of $1,000.00 per month to commence 30 days after release from
            confinement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the c1erk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Case Number
     Defendant and Co-Defendant Names                                                Joint and Several               Corr_esponding Payee,
     (including defendant number)                     Total Amount                        Amount                         if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Paymep.ts_shall be appl_ied in the following 9rder: (1) ~ssessmenti.J2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
ftne principal, (6) fine mterest, (7) community restitution, (8) N 1A assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
